      08-12667-mew        Doc 143     Filed 11/09/16 Entered 11/09/16 14:29:27           Blank Notice
                                           (wysiwyg) Pg 1 of 1
                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF NEW YORK
                                            One Bowling Green
                                         New York, NY 10004−1408


IN RE: Boaz Bagbag                                     CASE NO.: 08−12667−mkv

Social Security/Taxpayer ID/Employer ID/Other Nos.:    CHAPTER: 7
xxx−xx−8989




                NOTICE TO ALL CREDITORS AND INTERESTED PARTIES



Motion to Reopen Chapter 7 Case with hearing to be held on 12/14/2016 at 10:00 AM at Courtroom 501 (MKV).



Dated: November 9, 2016                                   Vito Genna
                                                          Clerk of the Court
